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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


United States of America,

                        Plaintiff,
                 vs.                                 Case Number 2:22-mj-366

Shihab Ahmed Shihab Shihab,                          Magistrate Judge E. A. Preston Deavers

                        Defendant.

                         ORDER OF DETENTION PENDING TRIAL

       Defendant, represented by counsel, waived his/her right to a detention hearing

under 18 U.S.C. §3142(f) and agreed to be detained in the custody of the United States

Marshal pending final resolution of this matter.1

       It is therefore ORDERED that defendant be committed to the custody of the

Attorney General or his designated representative for confinement in a corrections

facility separate, to the extent practicable, from persons awaiting or serving sentences or

being held in custody pending appeal. Defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a Court of the

United States or request of an attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

                                                     s/Elizabeth A. Preston-Deavers
                                                     ELIZABETH A. PRESTON DEAVERS
                                                     U.S. MAGISTRATE JUDGE
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       1
           A detention hearing will be rescheduled upon written motion.
